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                        UN ITED STATES D ISTRICT CO URT FO R TH E
                             SO U TH ERN DISTR ICT OF FLO RID A
                                          M iamiDivision
                    C A SE N O .17-23158-CIV -M A RT1N EZ-O TA ZO -REY E S

   LA SHA W N M ID DLETON ,
         Plaintiff,



   CA RN IV AL CO RPOM TIO N ,
          Defendant.
                                      /

                                      FINAL JUDGM ENT

         Pursuantto FederalRule ofCivilProcedure 58,and in accordance w ith the reasons stated

   in the Court'sOrderAdopting Judge Otazo-Reyes'Reportand Recommendation,judgmentis
   entered againstPlaintiffand in favorofD efendant.


         DONEAND ORDERED inChambersatMiami,Florida,thiszs
                                                        -llayofFebruary,2019.
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                                                       JO S    .M A RTm E
                                                       UN     ED STATES DISTRICT JUDGE
   Copiesprovided to:
   M agistrate Judge Otazo-Reyes
   A llCounselofRecord
   Lawshawn M iddleton,pro se
